                      Case 1:23-mj-00144-GMH Document 1 Filed 06/23/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of &ROXPELD

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.
                       Jeremy Rodgers
                                                                      )
                      DOB: XXXXXX                                     )
                                                                      )
                                                                      )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021               in the county of                                        in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                        Offense Description
        18 U.S.C. § 111(a)(1),(b)- Assault on a Federal Officer with a Deadly or Dangerous Weapon
        18 U.S.C. § 231(a)(3)- Civil Disorder
        18 U.S.C. § 1752(a)(1),(b)(1)(A)- Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
        18 U.S.C. § 1752(a)(2),(b)(1)(A)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
        18 U.S.C. § 1752(a)(4),(b)(1)(A)- Act of Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
        40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in a Capitol Building or on Capitol Grounds
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building




         9
         u Continued on the attached sheet.


                                                                                                  Complainant’s signature

                                                                                     Nicholas Vanderploeg, Special Agent
                                                                                                   Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                             G. Michael Digitally signed
                                                                                                        by G. Michael
Date:             06/23/2023
                                                                                             Harvey     Harvey
                                                                                                     Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                                   Printed name and title
